           Case 2:10-cv-01823-JLR Document 495-3 Filed 10/29/12 Page 1 of 4




 1                                                          The Honorable James L. Robart

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 6                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                  AT SEATTLE

 8   MICROSOFT CORPORATION, a Washington
     corporation,                                CASE NO. C10-1823-JLR
 9

10                          Plaintiff,           ORDER GRANTING DEFENDANTS’
                                                 MOTION TO SEAL DOCUMENTS AND
11              v.                               TRIAL TESTIMONY AND EXCLUDE
                                                 UNAUTHORIZED PERSONS FROM THE
12                                               COURTROOM DURING TESTIMONY
     MOTOROLA, INC., and MOTOROLA                REGARDING TRADE SECRETS
     MOBILITY LLC, and GENERAL                   [PROPOSED]
13
     INSTRUMENT CORPORATION,
14                                               NOTED ON MOTION CALENDAR:
                            Defendants.          Friday, November 9, 2012
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     ORDER GRANTING DEFENDANTS’ MOTION TO SEAL              SUMMIT LAW GROUP PLLC
     DOCUMENTS AND TRIAL TESTIMONY AND EXCLUDE               315 FIFTH AVENUE SOUTH, SUITE 1000
     UNAUTHORIZED PERSONS FROM THE COURTROOM                  SEATTLE, WASHINGTON 98104-2682
     DURING TESTIMONY REGARDING TRADE SECRETS                      Telephone: (206) 676-7000
     CASE NO. C10-1823-JLR                                            Fax: (206) 676-7001
             Case 2:10-cv-01823-JLR Document 495-3 Filed 10/29/12 Page 2 of 4




 1          THIS MATTER having come before the Court on Defendants’ Motion to Seal Documents

 2   and Trial Testimony and Exclude Unauthorized Persons From the Courtroom During Testimony

 3   Regarding Trade Secrets, and the Court having reviewed the pleadings and evidence presented and

 4   on file in this case, and being otherwise fully advised as to the issues presented, the Court hereby:

 5          ORDERS, ADJUDGES AND DECREES that Defendants’ Motion to Seal Documents and

 6   Trial Testimony and Exclude Unauthorized Persons From the Courtroom During Testimony

 7   Regarding Trade Secrets is hereby GRANTED.

 8          IT IS SO ORDERED.

 9          DATED this _____ day of _______________, 2012.

10

11                                                     THE HONORABLE JAMES L. ROBART
                                                       UNITED STATES DISTRICT COURT JUDGE
12
     Presented by:
13

14   SUMMIT LAW GROUP PLLC

15   By /s/ Ralph H. Palumbo
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     By /s/ Thomas V. Miller
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     ORDER GRANTING DEFENDANTS’ MOTION TO SEAL                            SUMMIT LAW GROUP PLLC
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     DURING TESTIMONY REGARDING TRADE SECRETS - 1                                 Telephone: (206) 676-7000
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              Case 2:10-cv-01823-JLR Document 495-3 Filed 10/29/12 Page 3 of 4




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16   Attorneys for Defendants Motorola, Inc., Motorola
17   Mobility, LLC, and General Instrument Corp.

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             Case 2:10-cv-01823-JLR Document 495-3 Filed 10/29/12 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on this day I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF system which will send notification of such filing to the following:
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25          DATED this 29th day of October, 2012.
                                                                        /s/ Marcia A. Ripley
26                                                                         Marcia A. Ripley

     ORDER GRANTING DEFENDANTS’ MOTION TO SEAL                             SUMMIT LAW GROUP PLLC
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